	



               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 1:14-CV-954

    STUDENTS FOR FAIR
    ADMISSIONS, INC.,

                          Plaintiff,
                                                   DECLARATION OF PETER
                         v.                        ARCIDIACONO


    UNIVERSITY OF NORTH
    CAROLINA et al.,

                          Defendants.



       I, Peter Arcidiacono, pursuant to 28 U.S.C. § 1746, declare the following:

       1.      I make this declaration at the request of counsel for Plaintiff Students for

Fair Admissions, Inc. (“SFFA”), and if called upon to testify as to the contents of this

declaration would testify competently thereto.

       2.      Attached as Exhibit A to this declaration is a true and correct copy of my

expert report signed January 17, 2018 and served on Defendants on the same day.

       3.      I have personal knowledge of the contents of the expert report attached as

Exhibit A.

       4.      I hereby verify that the contents of my expert report attached as Exhibit A

are true and accurate.

       5.      Attached as Exhibit B to this declaration is a true and correct copy of my

rebuttal expert report signed April 6, 2018 and served on Defendants on the same day.




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       6.      I have personal knowledge of the contents of the rebuttal expert report

attached as Exhibit B.

       7.      I hereby verify that the contents of my rebuttal expert report attached as

Exhibit B are true and accurate.

       8.      Attached as Exhibit C to this declaration is a true and correct copy of my

reply expert report signed on June 8, 2018 and served on Defendants on the same day.

       9.      I have personal knowledge of the contents of my reply expert report

attached as Exhibit C.

       10.     I hereby verify that the contents of my reply expert report attached as

Exhibit C are true and accurate.

	
       I declare under penalty of perjury, under the laws of the United States, that the

foregoing is true and correct to the best of my knowledge.



       Executed on this day, January 18, 2019.


                                                    /s/ Peter Arcidiacono
                                                    Peter Arcidiacono




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